Case 2:04-cr-20458-.]PI\/| Document 27 Filed 08/30/05 Page 1 of 3 Page|D 37

away *___ _IM THE UNITED sTATEs DIsTR:cT coURT mw “ ~“»~“~~--e-D-O'
FoR THE wEsTERN DIsTRIcT oF TENNEss
05 man am 6=55 wEsTERN DIVIsroN %55 AUG 29 PH |: n

 

 

y TH'C'-l" "1131;. ;"1
UW§Y%M AMERICA 1111 E§§\b %S D ,1.~1;;;1€0UHT
_ 1{ 1 !‘|l"`fm ‘§!`“ 3
ware * '“`

vs. 04(- mC:Z:ZZ:B- Ml

I}ION' PHlPPS MOCALLAW_

 
  
  
  

MOTION G '
DARRYL RUDD, RAMHD

Defendant.

 

 

H`
{v\)_)

MOTION TO RESET SURRENBE§BBYEE

 

Comes now the defendant, Darryl Rudd, having been sentenced in
the above case to the custody of the Bureau of Prisons, having
previously been granted leave of Court to report to his designated
facility and respectfully requests this Court to reset his
surrender date in this case. Movant would show unto the Court that
he is due to surrender to the Federal Bureau of Prisons at Taft CI,
Taft, California by 2:00 o’clock p.m. on Wednesday, August 31,
2005. Movant would further show unto the Courtlthat his younger
brother, Derrick Rudd, was killed the morning of August 29, 2005 in
an automobile accident. Darryl Rudd respectfully requests the
opportunity to post~pone his surrender datey primarily to attend
Derrick's funeral. Further, Mr. Darryl Rudd also has some final
arrangements concerning his business and private life that need
further attention and that is the reason for the 30 day request.

Counsel for Mr. Rudd has conferred with the Assistant U.S.

Th\s document entered on the dockets eat n compl!anca
with Ru\e 55 and/or 32{b) FRCrP on g ja Q §

Case 2:04-cr-20458-.]PI\/| Document 27 Filed 08/30/05 `Page 2_ of 3 Page|D 38

Attorney prosecuting this case and has been advised that there is
no objection to this request.

WHEREFORE} PREMISES CONSIDERED, movant respectfully prays:

l. That this Honorable Court extend Mr. Rudd’s surrender date
30 days; and/or

2. That this Court grant such other relief herein as truth

dictates and justice demands.

Respectfully submitted,

/ ?MM.A
T. clifg,/dri Harviel' ()5589
Attorney for Defendant
Suite 850
50 N. Front Street
Memphis, Tennessee 38103

(901) 543-9799

 

Certificate of Service
I hereby certify that I have served a copy of the foregoing
upon Mr. Carroll L. Andre, Assistant United States Attorney, 167 N.
Main Street, Bth Floor, Memphis, Tennessee 38103, this 29th day of

August, 2005.

 

   

UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CR-20458 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

i\/lemphis7 TN 38103

Robert S. Kirk
WARING COX

50 N. Front Street
Ste. 1300

i\/lemphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

